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             DANIEL ARMSTRONG
           7
           8
                                            UNITED STATES DISTRICT COURT
           9
                                          NORTHERN DISTRICT OF CALIFORNIA
          10
          11                                         OAKLAND DIVISION
          12
                                                                        STIPULATION AND ORDER TO
          13 UNITED STATES OF AMERICA,                                  MODIFY DEFENDANT DANIEL
                                     Plaintiff,                         ARMSTRONG’S CONDITIONS OF
          14
                                                                        RELEASE
          15
                       v.                                               Case No. CR 02-40138-CW
          16
          17 DANIEL ARMSTRONG,                                          Judge: Hon. Claudia Wilken (WDB)
          18                                        Defendant.
          19
          20
                                                                        STIPULATION AND ORDER TO
          21 UNITED STATES OF AMERICA,
                                                                        MODIFY DEFENDANT DANIEL
          22                         Plaintiff,                         ARMSTRONG’S CONDITIONS OF
                                                                        RELEASE
          23           v.
          24                                                            Case No. CR 06-0336-SBA
             SHAREEF HASTINGS, TERRI SCOTT,
          25 JACKSON GRANT, AMANDA DE LA                                Judge: Hon. Saundra B. Armstrong
             MERCED, and DANIEL ARMSTRONG,                              (WDB)
          26
          27                       Defendants.

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                STIPULATION AND ORDER TO MODIFY DEFENDANT DANIEL ARMSTRONG’S CONDITIONS OF RELEASE
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              1 I.       INTRODUCTION
              2          Since May 31, 2006, Daniel Armstrong has been confined to the Cornell Corrections
              3 halfway house in Oakland, California (“Cornell”), pursuant to the terms of his release on
              4 bond in the above-captioned matters. Mr. Armstrong is not accused of committing a crime
              5 of violence or a drug related crime. He does not pose a danger to the community. Mr.
              6 Armstrong has recently been granted permission to go to work everyday. Accordingly, Mr.
              7 Armstrong requests that he be released from confinement at Cornell Corrections to allow
              8 him to reside at his mother’s home, 3240 Sacramento Street #2, Berkeley California, subject
              9 to automatic voice-recognition curfew to be administered by Pretrial Services.
             10 II.      STIPULATION
             11          The United States, by its counsel Alicia Fenrick, Esq., and Daniel Armstrong, by his
             12 attorney, Michael E. Liftik, Esq., stipulate as follows:
             13          1.      On May 9, 2006, the United States filed a grand jury indictment against
             14 Shareef Hastings, Terri Scott, Jackson Grant, Amanda De La Merced, and Mr. Armstrong
             15 alleging they participated in a conspiracy to commit bank fraud in violation of 18 U.S.C. §
             16 1349 (United States v. Hastings, et al., case no. 06-cr-0336-SBA).
             17          2.      On May 11, 2006, the United States Probation Office filed a Petition for
             18 Summons for Offender Under Supervision alleging that Mr. Armstrong had violated the
             19 terms of his supervised release in a separate, earlier matter, United States v. Daniel
             20 Armstrong, case no. 02-cr-40138-CW.1 The Petition alleged that Mr. Armstrong
             21 inadequately documented his employment, failed to submit certain monthly reports in a
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             23
             24
             25          1
                        On November 4, 2002, Mr. Armstrong pled guilty in Armstrong to one count of
             26 fraudulent use of an access device, 18 U.S.C. § 1029(a)(2), aiding and abetting, 18 U.S.C. §
                2. He was initially sentenced, in part, to five years probation. On April 4, 2005, based on
             27 unrelated charges, Mr. Armstrong’s probation was revoked and he was sentenced to six
Heller       28 months in prison and three years supervised release.
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                  STIPULATION AND ORDER TO MODIFY DEFENDANT DANIEL ARMSTRONG’S CONDITIONS OF RELEASE
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                     Case 4:06-cr-00336-SBA         Document 27         Filed 08/31/06     Page 3 of 5



              1 timely manner, and missed appointments with his probation officer.2 A hearing was set for
              2 May 24, 2006 to identify counsel and set further proceedings in the Armstrong matter.
              3          3.      On May 24, 2006, when Mr. Armstrong appeared in Court for the status
              4 conference in the Armstrong matter, the government arrested Mr. Armstrong on the
              5 Hastings indictment, he was arraigned, and on motion by the government, taken into
              6 custody.
              7          4.      On May 30, 2006, the Court held a bail hearing in both Hastings and
              8 Armstrong. Mr. Armstrong was released on conditions which included the execution of a
              9 $100,000 unsecured bond by two of Mr. Armstrong’s friends, a set of standard release
             10 conditions, and the requirement that he must reside at Cornell, and may leave only as
             11 directed by Pretrial Services and Probation. Mr. Armstrong was released to Cornell on May
             12 31 and has resided there ever since.
             13          5.      The Hastings matter has had two status conferences on June 27, 2006 and July
             14 25, 2006 before Judge Armstrong. Because of the volume of discovery the government
             15 produced, as well as the multiple parties involved, Judge Armstrong determined that the
             16 case was complex, and has continued the case for further trial setting and status until
             17 September 19, 2006. A hearing on the alleged supervised release violation is scheduled for
             18 September 25, 2006, although both parties recognize that this proceeding will necessarily
             19 continue to trail progress in the Hastings matter. It is anticipated that Hastings is several
             20 months from trial.
             21          6.      Recently, Mr. Armstrong secured employment at Hard Labor Music, LLC,
             22 1924 Franklin Street, Studio B, Oakland, CA 94612, (510) 903-9780, under the supervision
             23 of Charles Lindsay where he works from 8:00 a.m. until 5:00 p.m. Mr. Armstrong’s
             24 probation officer, Jacqueline Sharpe has confirmed this employment.
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             27          2
                         The Petition was later amended to add the Hastings indictment as a new alleged
Heller       28 violation.
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                  STIPULATION AND ORDER TO MODIFY DEFENDANT DANIEL ARMSTRONG’S CONDITIONS OF RELEASE
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           1           7.      In light of Mr. Armstrong’s successful residency at Cornell, and his recent
           2 employment, Mr. Armstrong requests, and the government agrees to, a modification of the
           3 terms of his release so that he may reside at 3240 Sacramento Street #2, Berkeley
           4 California, his mother’s home, subject to an automatic voice-recognition curfew to be
           5 administered by Pretrial Services.
           6           8.      Pursuant to Judge Brazil’s Standing Order dated April 12, 2001, counsel for
           7 Mr. Armstrong contacted Assistant United States Attorney Alicia Fenrick, United States
           8 Probation Officer Jacqueline Sharpe, and United States Pretrial Services Officer Victoria
           9 Gibson regarding this request. All parties for the government agree to Mr. Armstrong’s
          10 request pursuant to the conditions enumerated below. The colloquy between the parties is
          11 contained in the Attestation of Michael Liftik, filed herewith.
          12           9.      For the foregoing reasons, the parties stipulate and agree that Mr. Armstrong’s
          13 Conditions of Release and Appearance, dated May 30, 2006 shall be modified as follows:
          14                   A.     The Condition that Mr. Armstrong must reside at the Cornell Halfway
          15 House and may leave only as directed by Pretrial Services and Probation is eliminated.
          16                   B.     In the matter of United States v. Hastings, et al., Case No. CR 06-
          17 0336-SBA, Mr. Armstrong is required to reside at 3240 Sacramento Street #2, Berkeley
          18 California, subject to an automatic voice-recognition curfew to be administered by Pretrial
          19 Services.
          20                   C.     In the matter of United States v. Armstrong, Case No. CR 02-40138-
          21 CW, Mr. Armstrong is subject to the remaining conditions set forth in the Conditions of
          22 Release and Appearance dated May 30, 2006 as directed by Probation.
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                STIPULATION AND ORDER TO MODIFY DEFENDANT DANIEL ARMSTRONG’S CONDITIONS OF RELEASE
                CASE NOS. CR 02-40138-CW, CR06-0336SBA
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           1 DATED: June 9, 2006                             Respectfully submitted,
           2                                                         HELLER EHRMAN LLP
           3
           4                                                         By__________/S/_______________________
                                                                                 MICHAEL E. LIFTIK
           5
                                                                     Attorneys for Defendant
           6                                                         DANIEL ARMSTRONG
           7
           8                                                         By___________/S/______________________
                                                                                  ALICIA FENRICK*
           9                                                         Assistant United States Attorney
          10
             * I, Michael E. Liftik, under whose ECF user id and password this document is filed, attest
          11 that Alicia Fenrick has read and approved the STIPULATION AND [PROPOSED]
             ORDER TO MODIFY DEFENDANT DANIEL ARMSTRONG’S CONDITIONS OF
          12 RELEASE and consents to its filing in this action.
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                                                                          S DISTRICT
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          18 IT IS SO ORDERED                                                    ayne D.
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          20 DATED: August 31, 2006                                              F
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                                                         ______________________________
          21                                             THE HONORABLE WAYNE BRAZIL
                                                         UNITED STATES MAGISTRATE JUDGE
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Ehrman LLP

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                STIPULATION AND ORDER TO MODIFY DEFENDANT DANIEL ARMSTRONG’S CONDITIONS OF RELEASE
                CASE NOS. CR 02-40138-CW, CR06-0336SBA
